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 8                               IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10   HERBERT M. BELLINGER, JR.,

11                  Plaintiff,                     No. CIV S-02-2335 LKK GGH P

12          vs.

13   DEPUTY ALLBEE, et al.,

14                  Defendants.                    ORDER

15                                        /

16                  Plaintiff is proceeding pro se with a civil rights action seeking relief under 42

17   U.S.C. § 1983. The matter was referred to a United States Magistrate Judge pursuant to 28

18   U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

19                  On April 25, 2005, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within twenty days. Plaintiff

22   has filed objections to the findings and recommendations.1

23                  In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 72-

24   304, this court has conducted a de novo review of this case. Having carefully reviewed the entire

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              Defendants argue that plaintiff’s objections are not timely. Plaintiff’s objections are
26   timely. Fed. R. Civ. P. 6(a), (e).

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            Case 2:02-cv-02335-LKK-GGH Document 69 Filed 06/03/05 Page 2 of 2




 1   file, the court finds the findings and recommendations to be supported by the record and by

 2   proper analysis.

 3                   Accordingly, IT IS HEREBY ORDERED that:

 4                   1. The findings and recommendations filed April 25, 2005, are adopted in full;

 5   and

 6                   2. Defendants’ December 17, 2004, summary judgment motion is granted as to

 7   plaintiff’s claims against defendant Sacramento County and as to plaintiff’s claims for violation

 8   of the Thirteenth Amendment as to all defendants; defendants’ summary judgment motion is

 9   denied in all other respects.

10   DATED: June 2, 2005.

11                                                        /s/Lawrence K. Karlton
                                                          UNITED STATES DISTRICT JUDGE
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     /bell2335.805
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